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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE
 ____________________________________
                                            )
 MARY SAUCEDO,                              )
 MAUREEN P. HEARD, and                      )
 THOMAS FITZPATRICK, D.B.A.                 )
                                            )
 Plaintiffs,                                )
                                            )
 v.                                         ) Civil Case. No. 1:17-cv-183-LM
                                            )
WILLIAM M. GARDNER, Secretary of            )
State of the State of New Hampshire, in his )
official capacity, and THE SECRETARY )
OF STATE’S OFFICE OF THE STATE              )
OF NEW HAMPSHIRE,                           )
                                            )
        Defendants.                         )
____________________________________)

             NOTICE OF SETTLEMENT REGARDING CLAIMS FOR FEES

       Plaintiffs, through counsel, submit this Notice of Settlement informing the Court that the

parties have resolved Plaintiffs’ claims for fees pursuant to 42 U.S.C. § 1988.

Dated: December 21, 2018




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Respectfully Submitted,

 MARY SAUCEDO,
 MAUREEN P. HEARD, and THOMAS
 FITZPATRICK, D.B.A.

    By and through their attorneys affiliated
    with the American Civil Liberties Union
    of New Hampshire Foundation, and the
    American Civil Liberties Union
    Foundation,


 /s/ Gilles R. Bissonnette

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                               CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been forwarded this date by ECF to all
counsel of record.


 /s/ Gilles R. Bissonnette________
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